              Case 2:19-cr-00170-JAM Document 31 Filed 10/23/20 Page 1 of 2


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 4
     Attorney for Defendant
 5   SAUL MORENO-LEMUS
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                         )   Case No.: 2:19-cr-00170 MCE
                                                       )
11                         Plaintiff,                  )   REQUEST FOR WAIVER OF
                                                       )   DEFENDANT’S IN-PERSON
12          vs.                                        )   APPEARANCE (LOCAL RULE 137(b)
                                                       )   & GENERAL ORDER 616)
13   SAUL MORENO-LEMUS,                                )
                                                       )
14                         Defendant.                  )
                                                       )
15                                                     )
16          Pursuant to Local Rule 137(b) and General Order 616, defendant Saul Moreno-Lemus
17   hereby waives the right to be present in person in open court upon the hearing of any motion or
18   other proceeding in this case, including, but not limited to, when a continuance is ordered, and
19   when any other action is taken by the court after trial, except upon imposition of sentence.
20   Defendant hereby requests the Court to proceed by videoconference of defendant’s presence,
21   the same as if defendant were present in-person, and further agrees to be present in court ready
22   for sentencing any day and hour the Court may fix in his absence. Undersigned has consulted
23   with the defendant and the defendant consents to counsel’s signing on defendant’s behalf.
24   Dated: October 16, 2020                                /s/ Michael E. Hansen for
                                                            SAUL MORENO-LEMUS
25
26   ///
27   ///
28   ///

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     Request for Waiver of Defendant’s Personal Presence
              Case 2:19-cr-00170-JAM Document 31 Filed 10/23/20 Page 2 of 2


 1          I agree with and consent to my client’s waiver of appearance.
 2   Dated: October 16, 2020                               /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 3                                                         Attorney for Defendant
                                                           SAUL MORENO-LEMUS
 4
 5
 6                                             ORDER
 7          The above waiver of in-person presence is GRANTED.
 8          IT IS SO ORDERED.
 9   Dated: October 23, 2020
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     Request for Waiver of Defendant’s Personal Presence
